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 6   United States of America
 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10                                                 )    NO.: 1:12-CR-00301 AWI DLB
      UNITED STATES OF AMERICA,                    )
11                                                 )    STIPULATION AND
                          Plaintiff,               )    PROTECTIVE ORDER BETWEEN THE
12                                                 )    UNITED STATES AND DEFENDANT
                    v.                             )    DEANA SHIRELLE NOLEN
13                                                 )
      STACEY KINYADA LEE,                          )
14    DEANA SHIRELLE NOLEN,                        )
      WILLIE SHERMAN PRUDE,                        )
15    CHEANEY LAVELL KEY, and                      )
      ERISHENIQUA D. DIXON,                        )
16                                                 )
                          Defendants.              )
17                                                 )
                                                   )
18
19
20          WHEREAS, the discovery in this case is voluminous and contains a
21   large amount of personal information including but not limited to
22   Social Security numbers, dates of birth, financial account numbers,
23   telephone numbers, and residential addresses (“Protected
24   Information”); and
25          WHEREAS, the parties desire to avoid both the necessity of large
26   scale redactions and the unauthorized disclosure or dissemination of
27   Protected Information to anyone not a party to the court proceedings
28   in this matter;
     ______________________________________________________________________________________

                                    Stipulation & Protective Order
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 1          The parties agree that entry of a stipulated protective order is
 2   appropriate.
 3          THEREFORE, defendant DEANA SHIRELLE NOLEN, by and through her
 4   counsel of record Anthony P. Capozzi (“Defense Counsel”), and
 5   plaintiff the United States of America, by and through its counsel of
 6   record, hereby agree and stipulate as follows:
 7          1.     This Court may enter protective orders pursuant to
 8   Rule 16(d) of the Federal Rules of Criminal Procedure, and its
 9   general supervisory authority.
10          2.     This Order pertains to all discovery provided to or made
11   available to Defense Counsel as part of the discovery in this case
12   (hereafter, collectively known as the “discovery”).
13          3.     By signing this Stipulation and Protective Order, Defense
14   Counsel agrees not to share any documents that contain Protected
15   Information with anyone other than Defense Counsel and designated
16   defense investigators and support staff.                Defense Counsel
17   may permit the defendant to view unredacted documents in the
18   presence of her attorney, defense investigators and support staff.
19   The parties agree that Defense Counsel, defense investigators, and
20   support staff shall not allow the defendant to copy Protected
21   Information contained in the discovery.                The parties agree that
22   Defense Counsel, defense investigators, and support staff may provide
23   the defendant with copies of documents from which Protected
24   Information has been redacted.
25          4.     The discovery and information therein may be used only in
26   connection with the litigation of this case and for no other purpose.
27   The discovery is now and will forever remain the property of the
28   United States Government.           Defense Counsel will return the discovery
     ______________________________________________________________________________________

                                    Stipulation & Protective Order

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 1   to the Government or certify that it has been destroyed at the
 2   conclusion of the case.
 3          5.     Defense Counsel will store the discovery in a secure place
 4   and will use reasonable care to ensure that it is not disclosed to
 5   third persons in violation of this agreement.
 6          6.     Defense Counsel shall be responsible for advising the
 7   defendants, employees, other members of the defense team, and defense
 8   witnesses of the contents of this Stipulation and Order.
 9          7.     In the event that the defendant substitutes counsel,
10   undersigned Defense Counsel agrees to withhold discovery from new
11   counsel unless and until substituted counsel agrees also to be bound
12   by this Order or the Court modifies this Order regarding such
13   transfer of discovery.
14          IT IS SO STIPULATED.
15   DATED:      Sept. 24, 2012                By: /s/ Anthony P. Capozzi
                                                   (authorized on 9/24/12
16                                                 ANTHONY P. CAPOZZI
                                                   Attorney for defendant
17                                                 DEANA SHIRELLE NOLEN
18
19   DATED:      Sept. 24, 2012                        BENJAMIN B. WAGNER
                                                       United States Attorney
20
                                               By: /s/ Kirk E. Sherriff
21                                                 KIRK E. SHERRIFF
                                                   Assistant U.S. Attorney
22
23   IT IS SO ORDERED.
24
     Dated:          September 24, 2012
25   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
26
27
28
     ______________________________________________________________________________________

                                    Stipulation & Protective Order

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